          Case
           Case1:23-cv-00811-EGB
                4:22-cv-05246-HSG Document
                                   Document22-2
                                            42 Filed
                                                Filed08/23/23
                                                      08/30/23 Page
                                                                Page11ofof33
                                                                           33




        FILED
          Aug 22 2023
         Mark B. Busby
   CLERK, U.S. DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
            OAKLAND
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page22ofof33
                                                                 33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page33ofof33
                                                                 33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page44ofof33
                                                                 33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page55ofof33
                                                                 33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page66ofof33
                                                                 33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page77ofof33
                                                                 33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page88ofof33
                                                                 33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page99ofof33
                                                                 33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page10
                                                           10ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page11
                                                           11ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page12
                                                           12ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page13
                                                           13ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page14
                                                           14ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page15
                                                           15ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page16
                                                           16ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page17
                                                           17ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page18
                                                           18ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page19
                                                           19ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page20
                                                           20ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page21
                                                           21ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page22
                                                           22ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page23
                                                           23ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page24
                                                           24ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page25
                                                           25ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page26
                                                           26ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page27
                                                           27ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page28
                                                           28ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page29
                                                           29ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page30
                                                           30ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page31
                                                           31ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page32
                                                           32ofof33
                                                                  33
Case
 Case1:23-cv-00811-EGB
      4:22-cv-05246-HSG Document
                         Document22-2
                                  42 Filed
                                      Filed08/23/23
                                            08/30/23 Page
                                                      Page33
                                                           33ofof33
                                                                  33
